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                                                                           CLERKS OFFIGE U.S'DIST.O URI
                                                                                 AT RoANoc ,VA
                                                                                       FILED
                     IN TIV UNITED STATES DISTRICT COURT                          ALC 26 2216
                    FOR THE W ESTERN DISTRICT OF VIR GINIA
                                                                              JULI
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UM TED STATES OF AM ERICA,                       CASE NO.7:14CR00050
                                                 (CASE NO.7:16CV81172)
V.                                               M EM ORANDUM OPIM ON


M ARIA PEREZ-CARRILLO,                           By: H on.Glen E.Conrad
                                                 ChiefUnited StatesDistrictJudge
                     D efendant.

       M aria Perez-carrillo,a federalinmate proceeding pro K ,filed thism otion to vacate,set

aside orcorrectthe sentence,pmsuantto 28 U.S.C.j2255. Upon review ofthemotion and
courtrecords,however,thecourtconcludesthatthe j 2255 motion mustbèdismissed without
prejudice,construedasamotion forreductionofsentenceunder18U.S.C.j3582,anddenied.
       Perez-cnrrillo pleaded guilty in this courtto one count of conspiling to possess with

intentto distribute and to distribute 50 gm m sorm ore ofm ethnmphetnm ine. Forthisoffense,on

September 3,2015,the court sentenced her to 55 m onths in prison. Perez-carrillo did not

appeal.

       Perez-carrillo hasnow filed a j2255motion,requesting a reduction in hersentence
based on herminorrole in the conspiracy. Speciscally,she arguesthatshe isentitled to a rninor

role reduction based on new guidelines declared in Amendment7I4 to the advisory federal
sentencing guidelines manual. Perez-canillo also cites Urlited States v.Ouintero-Levva,823

F.3d 519 (9th Cir.2016)(applying Amendment794retroactively on directappealto defendant
whohadarguedatsentencing,priortotheamendment,forminorrolereduction).
       Amendment794 nmended j381.2 oftheUnitedStatesSentencingGuidelinesCGUSSG'')
and took effecton November 1,2015. See tt.
                                         k at521. TMs nmendmentissued afterPerez-
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Cnnillo'sconviction becnmefnalin September2015,when shefailedto appealthejudgment.
In general,the courtisrequled to use the guidelinesm anualin effecton the datea defendantis

sentenced. See Dorsev v.United States, U .S. , 132 S.
                                         -     -    Ct.2321,2332 (2012);U.S.S.G.
j 1B1.11(a)(requidnguseofGltheGuidelinesM anualin effecton thedatethatthedefendantis
sentenced'). The Uited States Sentencing Commission did not make Amendment 794
rekoactive to a11 cases. See USSG. j1B1.10(d) (2015) (listing retroactive guideline
nmendments).
      Although Perez-cae llo asserts hermotion tmder j 2255,she is notentitled to relief
tmderthis statute. She isnotr guing thather sentence was illegalwhen imposed,thatitwas

imposed in violation ofUnited Stateslaw,orthatany otherdefectscognizabletmderj2255($
arepresentin hercase. See,e.c.,Hamilton v.United States,67 F.3d 761,763 (9th Cir.1995)
(holding thatj2255 claim can be based only on a claim oflack ofjudsdiction,constitutional
error,an en'
           orresulting in :&a completemiscarriageofjusticey''or$ia proceeding inconsistent
withtherudimentary demandsoffairprocedure'')(quotingUnitedStatesv.Timmreck,441U.S.
780,783-84 (1979)). Instead,Perez-csrrillo isarguing to receivetheretroactivebenefitofan
nm endmentthatissued aftershe wassentenced.Thistype ofclaim mustbebroughtasam otion

under18U.S.C.j3582,notasa j 2255 motion. Therefore,thecourtwillsllmmarily dismiss
Perez-csrrillo'sj2255motionwithoutprejudice.
      Because Perez-carrillo is proceeding without counsel,the courtliberally construes her

submission asamotion seekingreduction under18U.S.C.j3582(c). A districtcourtgenerally
m ay notm odify aterm ofimprisonm entonce ithasbeen imposed lmlessa defendantis eligible

forareductionunderj3582/).United Statesv.Goodwvn,596 F.3d 233,235 (4th Cir.2010).
Section3582(c)(2)allowsforareduction ifthedefendant'ssentencewasGtbased on asentencing
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rangethathassubsequently been lowered by the Sentencing Com mission,''and tçsuch reduction

isconsistentwith the applicable policy statements issued by the Sentencing Comm ission.'' 18

U.S.C.j3582(c)(2).
       The çtapplicablepolicy statements''referenced in j 3582(c)(2)arethosefotmd in j IB
1.10 oftheSentencingGuidelines.Dillon v.United States,560U.S.817,826(2010).Ptlrsuant
tothatprovision,asentencereduction tmderj3582(c)(2)isauthorizedonlywhen aretroactivelv
aoolicable Guidelines nm endment has Stthe effect of lowering the defendant's applicable

guidelinerange.''U.S.S.G.j IB 1.10(a)(2)(B).Section 1B1.10listsal1Guidelinesamendments
thatthe Sentencing Com mission hasm ade retroactively applicable to defendants on collateral

review,rathert11a11directappeal,and Amendment794 isnotlisted in jIB 1.10asretroactively
applicable. Because Am endment794 is thusnotrekoactively applicable,the courtmustdeny

Perez-carrillo's requestfor a reduction tmder j3582(c)(2) ptlrsuantto this nmendment. A
separate orderwillbeenteredtMsday.

       The Clerk is directed to send copies oftllis m em orandum opii on and accom panying

orderto defendant.
                     JJ &d
       EN TER:Iu s          ay ofAugust,2016.


                                                 ClliefU 'ted StatesDistrictJudge
